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                        IN THE UNITED STATES DISTRICT COURT
                             THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA

    Plaintiff,

    v.                                                 Criminal Action No. 17-232-EGS

    MICHAEL T. FLYNN,

    Defendant.




         FLYNN BRIEF IN SUPPORT OF MOTION TO COMPEL PRODUCTION
           OF BRADY MATERIAL AND FOR AN ORDER TO SHOW CAUSE

    Michael T. Flynn files this brief in support of his Motion to Compel Production of Brady

Material and for an Order to Show Cause. The motion was filed under seal because of references

to information covered by the Protective Order. However, Mr. Flynn will seasonably move to

have it unsealed in the interest of justice and the public confidence in our judicial system.

    I.           Introduction

         The government has a crushing 95% or higher conviction rate.1 It is virtually impossible

to defend successfully when the might and power of the federal government focuses on the

destruction of an individual, and the government holds all the cards. The rule of Brady v.


1
   This is one of the reasons, as Judge Rakoff wrote, “Why Innocent People Plead Guilty.” Jed
S. Rakoff, Why Innocent People Plead Guilty, N.Y. REV. OF BOOKS (Nov. 20, 2014),
http://www.nybooks.com.mutex.gmu.edu/articles/2014/11/20/why-innocent-people-plead-guilty/
("How prevalent is the phenomenon of innocent people pleading guilty? The few criminologists
who have thus far investigated the phenomenon estimate that the overall rate for convicted felons
as a whole is between 2 percent and 8 percent. . . . let us suppose that it is even lower, say, no
more than 1 percent. When you recall that, of the 2.2 million Americans in prison, over 2 million
are there because of plea bargains, we are then talking about an estimated 20,000 persons, or
more, who are in prison for crimes to which they pleaded guilty but did not in fact commit.").


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Maryland, requiring the government to disclose evidence favorable to the defense, is probably

the single most important underpinning of Due Process for a criminal defendant—yet it is often

observed only in the breach. Brady v. Maryland, 373 U.S. 83 (1963). While prosecutors

routinely recite their full knowledge of and compliance with their Brady obligations, in truth they

often scoff at them and continue to play games to win convictions at all costs. Meanwhile, the

defense does not know what the defense does not know.

       This problem was demonstrated dramatically in the prosecution of United States Senator

Ted Stevens. In fact, it was the prosecutorial misconduct in that case that led this Court to adopt

the Brady order it now routinely enters in every criminal case.2 Unfortunately, the government

learned nothing from the rebukes in Stevens. It has engaged in even more malevolent conduct in

the prosecution of Mr. Flynn.

       The very reason this Court adopted its Brady Order was to impress upon prosecutors their

most solemn obligations and to enable the contempt process to address the government’s failure

to comply, rather than leaving openings for any excuses or being hamstrung to consider criminal

contempt charges as it was in Stevens by the absence of a preexisting order.3 Indeed, this Court




2
  Standing Order, Dec. 12, 2017, U.S. v. Flynn, No. 17-232-EGS; Order, Feb. 16, 2018, U.S. v.
Flynn, No. 17-232-EGS.
3
    “The investigation and prosecution of U.S. Senator Ted Stevens were permeated by the
systematic concealment of significant exculpatory evidence which would have independently
corroborated Senator Stevens’s defense and his testimony, and seriously damaged the testimony
and credibility of the government’s key witness. Months after the trial, when a new team of
prosecutors discovered, in short order, some of the exculpatory information that had been
withheld, the Department of Justice (“DOJ”) moved to set aside the verdict and to dismiss the
indictment with prejudice. New prosecutors were assigned after U.S. District Judge Emmet G.
Sullivan held two of the previous prosecutors in contempt for failing to comply with the Court’s
order to disclose information to Senator Stevens’s attorneys and to the Court regarding
allegations of prosecutorial misconduct which were made after trial by an FBI agent who had
worked on the case.” Report to Hon. Emmet G. Sullivan of Investigation Conducted Pursuant to
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became a model for courts across the country when it adopted its Brady Order. While the defense

does not yet request consideration of criminal contempt charges,4 the suppression of Brady

evidence by the government here is ripe for a finding of contempt of this Court’s Standing Order,

which mandated production of information favorable to the defense—regardless of Mr. Flynn’s

plea of guilty—from the time the case was transferred to its docket.

           The prosecutors in this case have repeatedly failed to produce Brady evidence despite (i)

the clarity of this Court’s Order, (ii) their ethical and constitutional obligations, (iii) specific

requests for documents the prosecutors know are exculpatory, and (iv) those requests being made

multiple times. Not only have the prosecutors thumbed their noses at this Court’s Order, they

have ignored the rules of ethical conduct for the D.C. Bar. See Imbler v. Pachtman, 424 U.S.

409, 427 n. 25 (1976) (stating that “the prosecutor also is bound by the ethics of his office to

inform the appropriate authority of after-acquired or other information that casts doubt upon the

correctness of the conviction”).5

     II.       Background




the Court’s Order dated Apr. 7, 2009 (“Schuelke Report”) at 1, In re Special Proceedings, No.
09-mc-00198-EGS, (D.D.C. Nov. 14, 2011).
4
    18 U.S.C. Section 401(3); see Schuelke Report at 507.
5
    See generally the D.C. Rules of Prof. Conduct, Rule 3.8(e): The prosecutor in a criminal case
shall not . . . (e) Intentionally fail to disclose to the defense, upon request and at a time when use
by the defense is reasonably feasible, any evidence or information that the prosecutor knows or
reasonably should know tends to negate the guilt of the accused or to mitigate the offense, or in
connection with sentencing, intentionally fail to disclose to the defense upon request any
unprivileged mitigating information known to the prosecutor and not reasonably available to the
defense, except when the prosecutor is relieved of this responsibility by a protective order of the
tribunal. Significantly, unlike the constitutional rule set out in Brady v. Maryland, the applicable
ethical rule in the District of Columbia contains—by design—no “materiality” requirement; see
In re Kline, 113 A.3d 202 (D.C. 2015).

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       The prosecutors here—at the time including Mr. Van Grack, Ms. Zainab Ahmad, and

members of the Special Counsel team under the direction and supervision of Mr. Andrew

Weissmann—engaged in conduct even more pernicious than failing to comply with their legal

and ethical obligations under Brady and the D.C. Rules of Professional Conduct.

       They affirmatively suppressed evidence (hiding Brady material) that destroyed the

credibility of their primary witness, impugned their entire case against Mr. Flynn, while at the

same time putting excruciating pressure on him to enter his guilty plea and manipulating or

controlling the press to their advantage to extort that plea.     They continued to hide that

exculpatory information for months—in direct contravention of this Court’s Order—and they

continue to suppress exculpatory information to this day.

       It is equally concerning that Mr. Weissmann and Ms. Ahmad while at DOJ in 2016-17

were working with Bruce Ohr (then the fourth highest ranking member of DOJ) to feed

information from his wife Nellie at FusionGPS and British citizen Christopher Steele to the FBI

through his secret back-channel. This was happening after the FBI terminated Mr. Steele as a

paid informant because he was keeping the press informed of his “findings.” FusionGPS, Steele,

and Ms. Ohr were all working for the Clinton campaign. In addition, Ms. Ohr worked for the

CIA. The entire operation is further compromised by the fact that the second agent who

interviewed Mr. Flynn along with former agent Strzok, was Bruce Ohr’s contact with the FBI

and conducted numerous debriefings of Mr. Ohr—passing along to the FBI the corrupted and

false information from the Ohrs, Steele, and FusionGps That agent may also have joined Special

Counsel’s team.

       Weissmann and Ahmad were not in the DOJ chain of command to be informed by Mr.

Ohr at all. They had no legitimate reason to be privy to his operation with FusionGPS and



                                                4
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Christopher Steele. Remarkably, despite this involvement, Mr. Weissmann and Ms. Ahmad then

went directly to the Special Counsel team, along with Strzok and possibly the second agent,

thereby calling into question the entire investigation with their illicit involvement with Ohr and

Steele. Closing the circle, Ahmad was co-counsel with Van Grack in the prosecution of Mr.

Flynn. It is imperative the defense obtain the Bruce Ohr 302s and notes—unredacted—and all

evidence of this circuitous and illicit operation.

       When the prosecutors did produce any information that was exculpatory to the defense,

they denied it was such—making it clear to any reasonable attorney that they are unwilling or

unable to recognize and identify Brady information at all. This leaves the public, criminal

defendants, and courts with no trust whatsoever in the willingness or ability of the government

even to identify Brady material, much less produce it.

       For example, just two weeks ago, Mr. Van Grack, Ms. Curtis, and Ms. Ballantine

produced 330 pages of documents with an abject denial the production included any Brady

material.6 Yet that production reveals significant Brady evidence that we include and discuss in

our accompanying Motion (filed under seal because the prosecutors produced it under the

Protective Order).

       Any reasonable attorney familiar with the allegations against Mr. Flynn would recognize

that this evidence contradicts and undermines the prosecutors’ “theories” of any wrongdoing.

The production of August 16, 2019, also proves that the government has long had this

information in its possession, all while the government has made an exhaustive effort to



6
  “[T]he government makes this production to you as a courtesy and not because production of
this information is required by either Brady v. Maryland, 373 U.S. 83 (1963), or the Court’s
Standing Order dated February 16, 2018.” Letter from Mr. Brandon Van Grack to Sidney K.
Powell, Aug. 16, 2019.


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prosecute Mr. Flynn for three years or more. Indeed, the prosecutors spent countless hours

interrogating Mr. Flynn on multiple subjects and cases, yet they chose not to disclose this until

now.7 This conduct demonstrates contempt for the most solemn obligations of these prosecutors

and for this Court’s longstanding order.        Nothing will force the government to take its

obligations seriously until individual prosecutors are held to account with findings of contempt

and dismissals of prosecutions.

    III.       The Government’s Disregard for Its Brady Obligations Is Longstanding.

           The government has long demonstrated a strong predisposition to view essentially

everything as “inculpatory.” If something appears on its face to be favorable to the defense, such

as Senator Ted Stevens’s note that he wanted to pay his bill to his contractor, the government

will claim it was said “with a wink and a nod,” and therefore it showed the defendant’s guilt after

all. This “heads we win, tails we win” perspective infected and corrupted the prosecution of

United States Senator Ted Stevens, four Merrill Lynch executives, and untold others across the

country. See, e.g., Report to Hon. Emmet G. Sullivan of Investigation Conducted Pursuant to the

Court’s Order dated April 7, 2009 (“Schuelke Report”), In re Special Proceedings, No. 09-mc-

00198-EGS, (D.D.C. Nov. 14, 2011); see generally Weary v. Cain, 136 S.Ct. 1002 (2016);

United States v. Brown, 650 F.3d 581, 591 (5th Cir. 2011) (holding “favorable information was

plainly suppressed”); United States v. Kohring, 637 F.3d 895 (9th Cir. 2010); United States v.

Kott, 423 Fed. Appx. 736 (9th Cir. 2011).

           It is well documented that systematic, intentional misconduct has been pervasive in the

Department of Justice. See Schuelke Report (“The investigation and prosecution of U.S. Senator

7
    One would think that anyone investigating a person who had served our country for thirty-
three years would first obtain his full government file, which as to Mr. Flynn—who had worked
for James Clapper and then headed the DIA—should and would likely include everything the
DIA possessed.
                                                  6
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Ted Stevens were permeated by the systematic concealment of significant exculpatory

evidence.”). But the government learned nothing from the excoriating action this Court took in

Stevens. In the related cases of Kott and Kohring, shortly thereafter, the prosecutors tried again

to avoid any consequences for their egregious misconduct—claiming the same violations they

committed in Stevens were not “material” to those defendants. The Ninth Circuit vehemently

disagreed.   Judge Betty Fletcher wrote a blistering concurring decision. She called out the

government’s “reckless disregard” for the rights of the defendants and would have dismissed the

indictment because the prosecutors’ “unrepentant attitude indicates that no lesser remedial action

would be effective.” Kohring, 637 F.3d at 913. Judge Fletcher wrote that only the extreme

remedy of dismissal would “impress upon the government the reprehensible nature of its acts

and omissions.” Id. at 914.

       Yet, the government’s conduct has only worsened. Its abuse of power has spread and

deepened. The recent reports of the Inspector General demonstrate that constitutional, ethical,

and legal violations infected the FBI, the Department of Justice and perhaps other agencies.8

Even if the government deems the evidence it is withholding to be inculpatory, it is imperative

that new counsel for Mr. Flynn be able to see the allegedly inculpatory information to evaluate

the government’s allegations against him and to determine how to proceed.9


8
 See U.S. Dept. of Justice, Office of the Inspector General, A Review of Various Actions by the
Federal Bureau of Investigation and Department of Justice in Advance of the 2016 Election.
Redacted Ed. Washington, D.C. (2018), https://www.justice.gov/file/1071991/download.
9
    Mr. Flynn may also have other defenses that prior counsel did not explore. Although it is
obvious that the government’s discretion to pursue a prosecution is broad, it is not without
constraint. United States v. Armstrong, 517 U.S. 456, 464 (1996). It has often been repeated that
“it is unconstitutional to administer the law with an evil eye and an unequal hand so as
practically to make unjust and illegal discrimination between persons in similar circumstances.”
United States v. Napper, 574 F. Supp. 1521, 1523 (D.D.C. 1983) (quoting Yick Wo v. Hopkins,
118 U.S. 356, 373-74 (1886)). Selective prosecution requires that a defendant show (1) he was
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     IV.      There Are Serious Fourth Amendment Violations.

           In addition, there are egregious Fourth Amendment violations at issue in this case. Either

Mr. Flynn was (i) the subject of a pretextual counter-intelligence investigation apparently

resulting from an FBI/CIA operation routed and funded through the Office of Net Assessment in

the Department of Defense, using Stefan Halper to smear him as an “agent of Russia;” (ii) part of

the documented abuses of the NSA database; (iii) the subject of a criminal leak of classified

information regarding his conversations with Ambassador Kislyak; (iv) illegally unmasked; or

(v) some combination of the above.

           Judge Rosemary Collyer, Chief Judge of the FISA court, has already found serious

Fourth Amendment violations by the FBI in areas that likely also involve their actions against

Mr. Flynn. Much of the NSA’s activity is in direct violation of the Fourth Amendment. Not only

did the last administration—especially from late 2015 to 2016—dramatically increase its use and

abuse of “about queries” in the NSA database, which Judge Collyer has noted was “a very

serious Fourth Amendment issue,” it also expanded the distribution of the illegally obtained

information among federal agencies.10 Judge Collyer determined that former FBI Director

Comey gave illegal unsupervised access to raw NSA data to multiple private contractors. The


singled out for prosecution from among others similarly situated, and (2) that his prosecution
was motivated by a discriminatory purpose. Armstrong, 517 U.S. at 465; United States v.
Palfrey, 499 F. Supp. 2d 34 (D.D.C. 2007). It is highly likely this is such a case. Some of the
Brady material we identify in our motion speaks directly to these issues.

10
   See also Charlie Savage, NSA Gets More Latitude to Share Intercepted Communications, THE
N.Y. TIMES (Jan. 12, 2017) (reporting that Attorney General Loretta Lynch signed new rules for
the NSA that permitted the agency to share raw intelligence with sixteen other agencies, thereby
increasing the likelihood that personal information would be improperly disclosed),
https://www.nytimes.com/2017/01/12/us/politics/nsa-gets-more-latitude-to-share-intercepted-
communications.html; See also Exec. Order No. 12,333, 3 C.F.R. 200 (1982), as amended by
Exec. Order No. 13,284, 68 Fed. Reg. 4075 (Jan. 23, 2003).

                                                   8
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court also noted that “the improper access granted the [redacted] contractors was apparently in

place [redacted] and seems to have been the result of deliberate decision making” including by

lawyers.11, 12

     V.      This Court Should Issue an Order to Show Cause and Hold Government
             Counsel in Contempt For Their Disregard of This Court’s Brady Order.
          While the defense is reviewing the massive file counsel does have, it is what we do not

have that is crucial. A finding of contempt by this Court will trigger the appointment of new

prosecutors—unrelated to the Special Counsel investigation or the U.S. Attorney’s Office for the

District of Columbia, which is now equally implicated in the suppression of evidence favorable

to the defense.13 As in Stevens, counsel expects that in a matter of weeks, new and untainted

counsel for the government could find and produce the evidence the current team has hidden.

          “Courts have the inherent power to enforce compliance with their lawful orders through

civil contempt.” Shillitani v. United States, 384 U.S. 364, 370 (1966). “A civil contempt action is

characterized as remedial in nature, used to obtain compliance with a court order or to

compensate for damages sustained as a result from noncompliance.” United States v. Shelton,

11
  FISC Mem. and Order, p. 19, 87 (Apr. 26, 2017)
www.dni.gov/files/documents/icotr/51117/2016_Cert_FISC_Memo_Opin_Order_Apr_2017.pdf
(noting that 85% of the queries targeting American citizens were unauthorized and illegal).
12
    This classified and heavily redacted opinion is one of the documents for which defense
counsel requests a security clearance and access.
13
     “DOJ assigned a new team of prosecutors after District Judge Emmet G. Sullivan held
William Welch, the Chief of the Public Integrity Section, Brenda Morris, his Principal Deputy
Chief, and another senior DOJ attorney, in contempt on February 13, 2009, for failing to comply
with the Court’s order to provide certain information to Senator Stevens’s attorneys, Williams &
Connolly, and to the Court regarding a complaint filed by FBI Agent Chad Joy in December
2008 which “raised serious allegations of prosecutorial and governmental misconduct in the
investigation and trial of Senator Stevens.” Stevens, Mem. Op., Oct. 12, 2010, at 2 (Dkt. No.
421); see also id., Mem. Op. & Order, Dec. 19, 2008 (Dkt. No. 255); id., Order, Dec. 22, 2008
(Dkt. No. 256); id., Order, Jan. 14, 2009 (Dkt. No. 261); id., Op. & Order, Jan. 21, 2009 (Dkt.
No. 274); Schuelke Report at 32.
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539 F. Supp. 2d 259, 262 (D.D.C. 2008) (citing Evans v. Williams, 206 F.3d 1292, 1294-95

(D.C. Cir. 2000)). Indeed, this Court utilized a contempt order against the government to compel

it to produce documents responsive to the Court’s earlier order. See In re Contempt Finding in

United States v. Stevens, 744 F. Supp. 2d 253 (D.D.C. 2010) (aff’d by United States v. Stevens,

663 F.3d 1270 (D.C. Cir. 2011)).

       The “moving party for a civil contempt finding . . . bears the initial burden of

demonstrating by clear and convincing evidence that: (1) there was a clear and unambiguous

court order in place; (2) that order required certain conduct by [the nonmoving party]; and (3)

[the nonmoving party] failed to comply with that order.” United States v. Latney’s Funeral

Home, Inc., 41 F. Supp. 3d 24, 29-30 (D.D.C. 2014). “In the context of civil contempt, the clear

and convincing standard requires a quantum of proof adequate to demonstrate a reasonable

certainty that a violation occurred.” Phillips v. Mabus, 894 F. Supp. 2d 71, 91 (D.D.C. 2012).

       “Once the court determines that the movant has made the above three-part showing, the

burden shifts to the [non-moving party] to justify the noncompliance.” Int’l Painters & Allied

Trades Indus. Pension Fund v. ZAK Architectural Metal & Glass LLC, 736 F. Supp. 2d 35, 38

(D.D.C. 2010). The alleged contemnor must justify its noncompliance “categorically and in

detail.” Id. at 40. The court “need not find that [the] failure to comply with the orders was willful

or intentional because the party’s intent is irrelevant when making a civil contempt

determination.” Latney’s Funeral Home, Inc., 41 F. Supp. 3d at 30 (citing SEC v. Bilzerian, 112

F. Supp. 2d 12, 16 (D.D.C. 2000)).

       This Court’s Order could not be more clear. It specifically required the government to:

“produce to defendant in a timely manner any evidence in its possession that is favorable to

defendant and material either to defendant’s guilt or punishment. This government responsibility


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includes producing, during plea negotiations, [the same evidence].” Likewise, it is clear that the

government has refused to comply with that order, despite requests by the defense that it do so.

    VI.    This Court Should Compel the Production of All Brady Material Requested by
           The Defense.
       Under Brady, prosecutors have an “affirmative duty to disclose evidence favorable to a

defendant.” Kyles v. Whitley, 514 U.S. 419, 432 (1995). That duty is broad and automatic. It

applies equally to “exculpatory and impeachment evidence.” Id. at 433. Further, it applies

“regardless of request” by the defendant. Ibid. This obligation exists because of “the special role

played by the American prosecutor in the search for truth in criminal trials.” Strickler v. Greene,

527 U.S. 263, 281 (1999). The prosecutor is not just another advocate. Rather, he or she

represents “a sovereignty whose obligation to govern impartially is as compelling as its

obligation to govern at all,” and he or she shares its “interest…not that it shall win a case, but

that justice shall be done.” Id. (quoting Berger v. United States, 295 U.S. 78, 88 (1935)). Where

the government withholds favorable evidence, the Supreme Court has said, the prosecutor

abandons that role and assumes “the role of an architect of a proceeding that does not comport

with the standards of justice.” Brady, 373 U.S. at 87-88; Kyles, 514 U.S. at 433.

       Moreover, in this District, and under the rules of the D.C. Bar, a prosecutor cannot avoid

Brady by asserting that information is not “material” to the defense. The prosecutor is in no

position to make that determination. As this Court knows, “prosecutors are neither neutral…nor

prescient, and any such judgment [about whether evidence would affect a trial’s

outcome]necessarily is speculative on so many matters that simply are unknown or unknowable

before trial begins.” United States v. Safavian, 233 F.R.D. 12, 16 (D.D.C. 2005). Accordingly,

this District and others require disclosure of all favorable evidence, “without regard to whether

the failure to disclose it likely would affect the outcome of the upcoming trial.” Id.; see also

                                                11
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United States v. Acosta, 357 F. Supp. 2d 1228, 1233 (D. Nev. 2005); United States v. Carter, 313

F. Supp. 2d 921, 924-925 (E.D. Wis. 2004); United States v. Sudikoff, 36 F. Supp. 2d 1196,

1198-1199 (C.D. Cal. 1999).

       The government has not complied with its Brady obligations. In their belated letters and

productions, Mr. Van Grack and his team have admitted they are in possession of evidence

favorable to the defense, but they have steadfastly refused to produce the actual evidence. This

includes FBI 302s specifically requested, information identified in the Mueller Report, and

information specifically exonerating Mr. Flynn.

       The government’s most stunning suppression of evidence is perhaps the text messages of

Peter Srzok and Lisa Page. In July of 2017, (now over two years ago), the Inspector General of

the Department of Justice advised Special Counsel of the extreme bias in the now infamous text

messages of these two FBI employees. Mr. Van Grack did not produce a single text messages to

the defense until March 13, 2018, when he gave them a link to then-publicly available

messages.14


14
     There have been additional belated productions. Each time more text messages are found,
produced, or unredacted, there is more evidence of the corruption of those two agents. John
Bowden, FBI Agent in Texts: ‘We’ll Stop’ Trump From Becoming President, THE HILL (June 14,
2018),     https://thehill.com/policy/national-security/392284-fbi-agent-in-texts-well-stop-trump-
from-becoming-president; see also U.S. Dept. of Justice, Office of the Inspector General, A
Review of Various Actions by the Federal Bureau of Investigation and Department of Justice in
Advance of the 2016 Election. Redacted Ed. Washington, D.C. (2018)
(https://www.justice.gov/file/1071991/download). But the situation is even worse. After being
notified by the Inspector General of the Department of Justice of the extraordinary text
communications between Strzok and Page (more than 50,000 texts) and of their personal
relationship, which further compromised them, Special Counsel and DOJ destroyed their cell
phones. U.S. Dept. of Justice, Office of the Inspector General, Report of Investigation: Recovery
of Text Messages From Certain FBI Mobile Devices, Redacted Ed. Washington, D.C. (2018),
https://www.justice.gov/file/1071991/download. This is why our Motion also requests a
preservation order like the one this Court entered in the Stevens case.


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        Mr. Van Grack and Ms. Ahmad, among other things, did not disclose that FBI Agent

Strzok had been fired from the Special Counsel team as its lead agent almost six months earlier

because of his relationship with Deputy Director McCabe’s Counsel—who had also been on the

Special Counsel team—and because of their text messages and conduct. One would think that

more than a significant subset of those messages had to have been shared by the Inspector

General of the Department of Justice with Special Counsel to warrant such a high-level and

immediate personnel change. Indeed, Ms. Page left the Department of Justice because of her

conduct, and Agent Strzok was terminated from the FBI because of it.

        Likewise, the prosecutors did not produce evidence of Weissmann’s and Ahmad’s

relationship and work with Bruce Ohr on transmitting the corrupt information to the FBI, and the

numerous 302s resulting from the interviews of Bruce Ohr by the second agent.

        Counsel for Mr. Flynn has repeatedly requested the unredacted messages between Strzok

and Page, the unredacted 302s of Bruce Ohr, as well as details of the information the Department

and Special Counsel had of their messages prior to Mr. Flynn’s plea. Mr. Van Grack has refused

to provide it.15

     VII.   The Government Must Be Required to Produce the Actual Evidence—Not
            Meager “Summaries.”

        The government must be compelled to produce the actual evidence. Its purported

“summaries” or references to information it possesses is insufficient. This Court has consistently

15
    Since our initial request to the Department by confidential letter dated June 6, 2019, we have
identified additional documents that we specify in our Motion. Now, with the impending and
just-released reports of the Inspector General, there may be more. The Report of the Inspector
General regarding James Comey’s memos and leaks is replete with references to Mr. Flynn, and
some information is redacted. There may also be a separate classified section relevant to Mr.
Flynn. U.S. Dept. of Justice, Office of the Inspector General, Report of Investigation of Former
Federal Bureau of Investigation Director James Comey’s Disclosure of Sensitive Investigative
Information and Handling of Certain Memoranda, Oversight and Review Division Report 19-02
(Aug. 29, 2019), https://oig.justice.gov/reports/2019/o1902.pdf.
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described prosecutors’ Brady obligation as an “affirmative duty to disclose evidence.” Kyles, 514

U.S. at 432 (emphasis added). See Connick v. Thompson, 131 S. Ct. 1350, 1358 (2011) (crime

lab report); Cone v. Bell, 129 S. Ct. 1769, 1777 n.10 (2009) (“‘statements of’” six witnesses and

“‘statements contained in official police re-ports’”); Id. at 1783-1784 (“documents” and

“undisclosed notes”); Id. at 1784 (referring to “the quantity and quality of the suppressed

evidence”); Brady, 373 U.S. at 84 (co-defendant’s “extrajudicial statements”).

       In yet another recent demonstration of egregious government misconduct, the

government completely changed the meaning of exculpatory information in a declassified

version of a report—by omitting the word “not.” This case, involving Adam Lovinger, is related

to issues involving Mr. Flynn, as Mr. Lovinger was wrongly charged (and secretly cleared) after

blowing the whistle on the fraudulent payments to FBI/CIA/DOD operative Stefan Halper—a

central figure in the government’s targeting and intelligence abuses of the last several years—

including against Mr. Flynn.

       Mr. Lovinger had been an analyst at the Pentagon for more than ten years when he was

detailed to the White House at then-National Security Advisor Flynn’s request. Mr. Lovinger

voiced concerns internally regarding the Pentagon’s Office of Net Assessment for prioritizing

academic reports (one of which was written by Stefan Halper) at the expense of real threat

assessments. He was recalled to the Pentagon, accused of mishandling sensitive information,

stripped of his security clearance, and suspended.        As it turned out, the Naval Criminal

Investigative Service conducted a thorough examination of his electronic devices, but “[a]gents

found no evidence he leaked to the press, as charged, or that he was a counterintelligence risk.”16




16
  Rowan Scarborough, EXCLUSIVE: Probe clears pro-Trump Pentagon analyst, report
withheld from defense team, THE WASHINGTON TIMES (Aug. 14, 2019),
                                                14
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           Even though the investigation exonerated Mr. Lovinger of these charges a full month

before Mr. Lovinger’s hearing, the government did not reveal to Mr. Lovinger’s attorneys that

this investigation occurred.17 Even worse, the declassified version of the NCIS left out a crucial

“not”. It read that the investigation “did yield any classified or sensitive information,”18 when

the truth was the investigation “did not yield any classified or sensitive information.”19 The

declassified version omitted the word “not.”20

           Accordingly, the government must be compelled to produce the actual 302s, text

messages, notes, and all actual documents the defense has requested—and we must see them

unredacted.      Summaries are not evidence. Thus, disclosure via a summary cannot satisfy

Brady.21 Even in ideal circumstances, summaries present unnecessary risks of mistake and


http://amp.washingtontimes.com/news/2019/aug/14/investigation-clears-analyst-accused-of-
leaking-da/ .
17
     Id.
18
   “A review of the contents of S/LOVINGER's NIPR and SIPR Joint Service Provider (JSP)
accounts was conducted and did not reveal any potential CI concerns. *** An interview of
former ONA contractor [redacted] ClIV, did not yield any information of concern. A review of
the case by NCISHQ and NCISRA Washington, DC determined all logical investigative steps
have been completed and the investigation could be closed. ONA was apprised of the status of
the investigation. As this investigation has not disclosed indicators S/LOVINGER leaked
sensitive information to members of the media and all logical investigative steps were
completed, this case is now closed.” Naval Criminal Investigative Service, Records Management
Division, Lovinger, Adam, https://tinyurl.com/y6l85hsg.
19
     Id. (emphasis added).
20
   Id. at p. 2 ("[redacted] conducted a key word search of the hard drive maintained in
S/LOVINGER's USG-issued Dell "0ptiPlex 9020" computer tower, which did yield any
classified or sensitive information.”)
21
   “Evidence” need not be admissible to fall within Brady; it is enough that it “could lead to
admissible evidence” or “be an effective tool in disciplining witnesses during cross-
examination.” United States v. Gil, 297 F.3d 93, 104 (2d Cir. 2002) (collecting cases). Likewise,
favorable evidence is not exempt from disclosure simply because it is in some way a “summary”
of facts, e.g., contemporaneous notes of a witness interview. Rather, Brady requires the
                                                 15
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misrepresentation. They pose the same cognitive-bias problems that arise whenever the

government is afforded discretion over what it discloses to defendants. In fact, they compound

the problem in several ways. The prosecutor must ask himself not only which items to disclose,

but which aspects of those items to describe—adding another filter between favorable evidence

and the defendant and amplifying the risk that favorable evidence will be suppressed. Written

summaries require characterization of the evidence that a prosecutor—even the most well-

intentioned—has no business making. The prosecutor assumes the role not merely of compiler,

but of editor.22 Summaries license the prosecutor to put his or her own spin on evidence. Even

“[s]ubtle shifts in tone” can have a significant impact on how a document is interpreted. United

States v. Omni Int’l Corp., 634 F. Supp. 1414, 1425 (D. Md. 1986). “Minor modifications today

could be become significant alterations tomorrow, based on the judgment of the reviser.” Id. at

1426.

        As this Court noted in Stevens: “[t]he use of summaries is an opportunity for mischief

and mistake.” Tr. of Mot. Hr’g 9, United States v. Stevens, No. 08-231 (D.D.C. Apr. 7, 2009)

(dismissing indictment against former Senator Ted Stevens for Brady violations). Summaries

present prosecutors with dangerous opportunities—and temptations—to selectively cull and

frame the “favorable” evidence they choose to disclose. Accordingly, the government must be

compelled to provide the actual documents, notes, 302s, and A-1 files the defense has requested

and any other actual documents, notes, emails, texts or other materials that are exculpatory or

might lead to exculpatory evidence.

government to give defendants the same raw material that prosecutors possess—whatever its
form—rather than reprocessing that material into summaries prepared for the purpose of
disclosure.
22
      The insufficiency and myriad problems of using summaries is the subject of excellent
briefing by Amicus in support of the Petition for Writ Of Certiorari in Brown v. United States,
available at https://federalappeals.com/wp-content/uploads/2018/05/Enron_2_OnPetition.pdf.
                                               16
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   VIII.    Conclusion

       Sunlight is the best disinfectant, and no court can do justice until it knows the truth. To

restore any measure of trust and credibility in our law enforcement institutions, the government

must be held to the highest standards. See, e.g., United States. v. Harvey, 791 F.3d 294, 300 (4th

Cir. 1986) (citation omitted). “[C]oncerns for the honor of the government, public confidence in

the fair administration of justice, and the effective administration of justice in a federal scheme

of government” demand it. Id.

       For these reasons, Mr. Flynn requests that this Court (i) issue an order to show cause why

the government should not be held in contempt because of their violation of this Court’s

Standing Order and their legal and ethical duties to produce exculpatory and impeachment

evidence to the defense; (ii) thereafter find the prosecutors in contempt of this Court’s Brady

order; (iii) issue an order to them and to the Department of Justice to preserve all evidence,

emails, notes, documents, texts, cell phones—including those of the Special Counsel team—and

(iv) order the Department of Justice to produce all evidence the defense requests in our

accompanying Motion and any and all other Brady information in the government’s possession.

       Dated: August 30, 2019

                                             Respectfully submitted,


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                                  CERTIFICATE OF SERVICE

          I hereby certify that on Friday, August 30, 2019, I filed a copy of the above and foregoing

in the office of the Clerk via the CM/ECF system, which will provide notice to all counsel of

record.



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